        Case 2:08-cr-00116-KJM Document 209 Filed 05/20/10 Page 1 of 4


 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
 2 LAW OFFICES OF JAMES R. GREINER
   555 UNIVERSITY AVENUE, SUITE 290
 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE: (916) 649-2006
 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     DOMONIC McCARNS
 6
 7                IN THE UNITED STATES DISTRICT COURT FOR THE
 8                      EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,      )               NO. CR.S-08-00116-FCD
10                                  )
          PLAINTIFF,                )               STIPULATION AND ORDER
11                                  )               TO CONTINUE THE STATUS
          v.                        )               CONFERENCE TO MONDAY
12                                  )               SEPTEMBER 27, 2010
     CHARLES HEAD, et al.,          )
13                                  )
                                    )
14        DEFENDANTS.               )
     _______________________________)
15
16         The parties to this litigation, the Unites States of America, represented by
17   Assistant United States Attorneys Ms. Ellen Endrizzi and Mr. Matthew C. Stegman
18   and the defendants (hereinafter referred to as the defendants): 1)Charles Head,
19   represented by attorney, Mr. Scott Tedmon; 2) Keith Brotemarkle represented by
20   attorney, Robert G. Gazley; 3) Benjamin Budoff represented by attorney, Dwight M.
21   Samuel; 4) John Corcoran, represented by attorney, Mr. Matthew C. Bockmon; 5)
22   Lisa Vang represented by attorney , Mr. Timothy E. Warriner; 6) Kou Yang,
23   represented by attorney, Mr. Joseph Low, IV; and 7) Domonic McCarns, represented
24   by attorney, Mr. James R. Greiner, hereby agree and stipulate that the current date for
25   the status conference, Monday, May 24, 2010, is hereby vacated and can be
26   rescheduled for Monday, September 27, 2010, at 10:00 a.m. in Courtroom #2 before
27   the Honorable District Court Judge, Frank C. Damrell, Jr..
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        Case 2:08-cr-00116-KJM Document 209 Filed 05/20/10 Page 2 of 4


 1         Further, all of the parties, the United States of America and all of the defendants
 2   as stated above, hereby agree and stipulate that time under the speedy trial Act can be
 3   excluded under Title 18 section 3161(h)(7)(B)(ii) and section 3161(h)(7)(B)(iv),
 4   corresponding to Local code T-2 (the complexity of the case) and Local Code T-4
 5   (to allow defense counsel reasonable time to prepare and continuity of counsel).
 6         The government has produced over 290,000 pages of discovery to defense
 7   counsel. All defense counsel are in the process of reviewing this material, meeting
 8   with their respective clients and going over the discovery with their clients. All
 9   defense counsel need additional time to continue that process. In addition, all defense
10   counsel need additional time as they research to identify potential legal issues.
11         The parties agree and stipulate that, the interest of justice in granting this
12   reasonable request for a continuance outweighs all other interests in this case for a
13   speedy trial in this case, pursuant to Title 18 section 3161(h)(7)(B)(ii) and section
14   3161(h)(7)(B)(iv), corresponding to Local code T-2 (the complexity of the case) and
15   Local Code T-4 (to allow defense counsel reasonable time to prepare and for
16   continuity of defense counsel).
17         The Court’s Courtroom deputy, Ms. Michele Krueger, was contacted to ensure
18   the Court was available on Monday, September 27, 2010, and the Court is available.
19         Respectfully submitted:
20                                     BENJAMIN B. WAGNER
                                       UNITED STATES ATTORNEY
21
                                       /s/ Ellen Endrizzi, by e mail authorization
22
     DATED: 5-19-10                    _____________________________________
23                                     Ellen Endrizi and Matthew C. Stegman
                                       ASSISTANT UNITED STATES ATTORNEYS
24                                     ATTORNEYS FOR THE PLAINTIFF
25   DATED: 5-19-10
                                       /s/ Scott Tedmon by telephone authorization
26                                     ______________________________________
                                       Scott Tedmon
27                                     Attorney for Defendant Charles Head
28                                                2
        Case 2:08-cr-00116-KJM Document 209 Filed 05/20/10 Page 3 of 4


 1   DATED: 5-19-10                   /s/ Robert G. Gazley by e mail authorization
                                      _______________________________________
 2                                    Robert G. Gazley
                                      Attorney for Defendant Keith Brotemarkle
 3
     DATED: 5-19-10                   /s/ Dwight M. Samuel by e mail authorization
 4                                    _____________________________________
                                      Dwight M. Samuel
 5                                    Attorney for Defendant Benjamin Budoff
 6   DATED: 5-19-10                   /s/ Matthew Bockmon by e mail authorization
                                      ______________________________________
 7                                    Matthew Bockmon
                                      Attorney for Defendant John Corcoran
 8
     DATED: 5-19-10                   /s/ Timothy E. Warriner by e mail authorization
 9                                    ____________________________________
                                      Timothy E. Warriner
10                                    Attorney for Defendant Lisa Vang
11   DATED: 5-19-10                   /s/ Joseph Low, IV by e mail authorization
                                      ______________________________________
12                                    Joseph Low, IV
                                      Attorney for Defendant Kou Yang
13
     DATED: 5-19-10                   /s/ James R. Greiner
14                                    ___________________________________
                                      James R. Greiner
15                                    Attorney for Defendant Dominic McCarns
16
                                             ORDER
17
18         Based upon the representations of counsel, the record in this case, and the
19   agreements and stipulations between counsel in the case, and that
20         The parties agree and stipulate that this Court can make the appropriate findings
21   supported by the record in this case that this case is complex pursuant to the Speedy
22   Trial Act, Title 18 U.S.C. section 3161(h)(7)(B)(ii) and local code T-2, which allows
23   the Court to make the finding that this case is so unusual or so complex, due to the
24   nature of the prosecution, and/or the existence of novel questions of fact or law,
25   and/or, the existence of the amount of discovery (over 290,00 pages of discovery),
26   that it is unreasonable to expect adequate preparation for pretrial proceedings or the
27   trial itself within the time limits established by the Speedy Trial Act. In addition, the
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        Case 2:08-cr-00116-KJM Document 209 Filed 05/20/10 Page 4 of 4


 1   Court can make a finding from the record in this case, that time shall also be excluded
 2   under local code T-4, that time is to be excluded for the reasonable time necessary
 3   for effective preparation by defense counsel, continuity of defense counsel and Title
 4   18 U.S.C. section 3161(h)(7)(B)(iv), of the speedy trial act.
 5         The Status Conference currently set for Monday, May 24, 2010, is vacated,
 6   and the new Status Conference is set for Monday, September 27, 2010, with time
 7   excluded under the Speedy Trial Act from Monday, May 24, 2010, through to and
 8   including Monday, September 27, 2010, for the reasons agreed to and stipulated by
 9   the parties and as stated herein.
10
11         FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
12
13   DATED: May 20, 2010.
14
                                             _______________________________________
15
                                             FRANK C. DAMRELL, JR.
16                                           UNITED STATES DISTRICT JUDGE

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